Case 2:06-cv-05455-|\/|CA-LDW Document 469

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Hon. Leda D. Wettre

United States District Court

N|artin Luther King Jr. Federa| Courthouse
50 Wa|nut Street

Newark, New Jersey 07102

Re: NVE, Inc. v. Palmeroni, et al.

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Pashmaniiztein

August 28, 2015

Civil Action No. 2:06-CV-05455 (MCA)(LDW)

Dear Judge Wettre:

This firm represents the Plaintiff, N.V.E., lnc., in the above_captioned matter. |n light of
the upcoming settlement conference scheduled for September 1, 2015, I am writing to inform
your Honor that a settlement agreement has been reached between N.V.E, lnc. and the
Defendants Jarrett W. Portz, John J. Portz, Katherine |\/|. Portz, international Who|esa|e Service,
lnc., and international Wholesale Supply, Inc. Todd Greenberg, counsel for the settling

defendants, therefore asksu **

be excused from the se

tlement conference and NVE doe es l ut

object to this request. However, we will need thirty (30) days to file the executed settlement

agreement with this Court.

|n addition, this Court granted an order on August 13, 2015, allowing the Defendants to
attend the settlement conference telephonical|y. As all ofthe other parties will not be
attending in person, we respectfully request that the representative for N.V.E., lnc. be allowed

to attend telephonically as wel|.

cc. A|| Counsel of Record via E|ectronic Fi_|ing
Mr. Vincent Rosarbo via U.S. Nlail
le. Ange|ina Rosarbo via U.S. lVlai|

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